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                 EXHIBIT 11
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Implementing SMS-based Two-factor Authentication
                                                                                  21         ?           18



   UPDATED January 2015

   Two-factor authentication (2FA) is a more secure method to prove a user's identity and protect
   access to your Salesforce org. SMS-based 2FA requires your users to provide their password as well
   as an One-Time Password (OTP) code they received on their mobile device as additional proof of
   identity.
   You can leverage Salesforce login flows and a third-party SMS/voice delivery service like Twilio or
   TeleSign to implement a SMS-based two-factor authentication (2FA) and identity verification flow.
   Sound hard? It’s relatively easy to implement using a login flow. Let’s break down the steps in the
   flow:
   1. As the user logs in, the login flow generates a random one-time password code (OTP) and sends
   it via voice or text message to the user’s phone.
                                                                                       feedback
   2. The user provides the same OTP to your application.
   3. Salesforce verifies the code.
   4. The user accesses Salesforce successfully.

   The basic SMS-based 2FA flow looks like this:




   (/page/File:.LoginFlow_SMS-2FA_1.png)


       Record Lookup - Queries the user record to get their mobile phone number.
       SMS Plugin - An Apex class that generates the OTP and uses a third-party SMS delivery service to
       send it to the user’s mobile.
       Screen - Prompt the users to provide the OTP they received on their phone.
       Decision - Compare the TOTP generated by the flow and the one that is provided by the user. If
       equal, the flow is complete and the user is redirected to the application. Otherwise, the flow
                                                 Ex. 11, p. 132
   generates
   Case      another code and asksDocument
        2:16-cv-02106-PSG-SS      the user to1-11
                                              verify again.
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In this tutorial, we use the Twilio Apex SDK to perform the SMS delivery operations. However, you
can use any cloud-based SMS/voice vendor that has a public API to access its services.

1. Go to Setup->Create->Workflow & Approvals->Flows and create a new Flow
2. Create a LoginFlow_UserId input text variable. This is a login flow input variable that gets
populated with the user’s id during the login event.




(/page/File:.LoginFlow_SMS-2FA_2.png)

3. Create the following text variables:
    Mobile - The user mobile number
    VerificationCode - The OTP generated by the Apex plugin
    Code - The OTP collected from the user
    Status - The status returned from plugin execution
4. Create a record lookup to query the User object based on the user id and store their mobile
phone number in the Mobile input variable.




                                            Ex. 11, p. 133
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(/page/File:.LoginFlow_SMS-2FA_3.png)

5. Install the Twilio Apex SDK
https://github.com/twilio/twilio-salesforce (https://github.com/twilio/twilio-salesforce)

6. In Salesforce, go to Setup->Security Controls->Remote Site Settings and add the following URL:
https://api.twilio.com (https://api.twilio.com).
This allows the SMS plugin to perform outbound API calls to Twilio web services.




(/page/File:.LoginFlow_SMS-2FA_4.png)

7. Create the following Apex class

   01   global class SMSPlugin implements Process.Plugin {
   02
   03   global Process.PluginDescribeResult describe() {
   04
   05       Process.PluginDescribeResult result = new
        Process.PluginDescribeResult();
   06       result.tag='Identity';
                                           Ex. 11, p. 134
07
Case    result.name='SMS Plugin';
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08      result.description='Two factor authentication with SMS';
                                     #:146
09
10       result.inputParameters = new
     List<Process.PluginDescribeResult.InputParameter> {
11           new Process.PluginDescribeResult.InputParameter('AccountSid',
     Process.PluginDescribeResult.ParameterType.STRING, true),
12           new Process.PluginDescribeResult.InputParameter('Token',
     Process.PluginDescribeResult.ParameterType.STRING, true),
13           new Process.PluginDescribeResult.InputParameter('To',
     Process.PluginDescribeResult.ParameterType.STRING, true),
14           new Process.PluginDescribeResult.InputParameter('From',
     Process.PluginDescribeResult.ParameterType.STRING, true),
15           new Process.PluginDescribeResult.InputParameter('Message',
     Process.PluginDescribeResult.ParameterType.STRING, true)
16       };
17
18       result.outputParameters = new
     List<Process.PluginDescribeResult.OutputParameter> {
19           new Process.PluginDescribeResult.OutputParameter('Status',
     Process.PluginDescribeResult.ParameterType.STRING),
20           new Process.PluginDescribeResult.OutputParameter('VerificationCode',
     Process.PluginDescribeResult.ParameterType.STRING)
21       };
22
23           return result;
24
25   }
26
27
28   global Process.PluginResult invoke(Process.PluginRequest request) {
29
30           Map<String, Object> result = new Map<String, Object>();
31           String AccountSid = (String)request.inputParameters.get('AccountSid');
32           String token = (String)request.inputParameters.get('Token');
33           String To = (String)request.inputParameters.get('To');
34           String From_a = (String)request.inputParameters.get('From');
35           String Message = (String)request.inputParameters.get('Message');
36           if (Message == null) Message = 'Your verification code is: ';
37
38           TwilioRestClient client = new TwilioRestClient(AccountSid, Token);
39           TwilioSMS sms;
40
41           Integer rand = Math.round(Math.random()*100000);
42           String VerificationCode = string.valueOf(rand);
43           String Body = Message + VerificationCode;
44
45           Map<String,String> params = new Map<String,String> {
46               'To' => To,
47               'From' => From_a,
48               'Body' => Body
49           };
50
51           try {
52               sms = client.getAccount().getSMSMessages().create(params);
53               result.put('Status', sms.getStatus());
54           } catch(Exception ex) {
55               result.put('Status', 'Failure');
56           }
57               result.put('VerificationCode', VerificationCode);
58              return new Process.PluginResult(result);
59       }
60   }
                                      Ex. 11, p. 135
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8. Create an SMS plugin that generates an OTP and sends it via SMS to the user’s mobile number.
The plugin takes the following inputs:
   AccountSid* -Twilio Account SID (username)
   Token* - Twilio Auth Token (password)
   From - The SMS From number
   Message - The message that will be sent to the user along with the verification code
   To - The user's mobile phone
*Get from your Twilio Account




(/page/File:.LoginFlow_SMS-2FA_5.png)

The plugin returns the following values;
   Status - Status of the SMS delivery operation
   VerificationCode - The verification code that is generated and sent to the user




                                           Ex. 11, p. 136
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(/page/File:.LoginFlow_SMS-2FA_6.png)


9. Create a screen element that prompts the user to enter the verification code received on their
mobile phone.




(/page/File:.LoginFlow_SMS-2FA_7.png)


10. Create a decision element with the following two outcomes:
   Valid - The generated verification code equals the code provided by the user
   Invalid - The default outcome that is used when the Valid condition is not met




                                           Ex. 11, p. 137
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(/page/File:.LoginFlow_SMS-2FA_8.png)

11. Save and activate the flow.

12. Go to Security->Login Flow and connect the flow to a user profile.




(/page/File:.LoginFlow_SMS-2FA_9.png)

Note: Don’t associate a login flow with your sys admin profile until you are sure that the Login flow
works properly. Otherwise, if it fails, you won't be able to log in to your org. The best practice is to
create a dedicated test user with a test profile.
13. Log out and log in with a user that belongs to the profile you linked in the previous step.




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(/page/File:.LoginFlow_SMS-2FA_10.png)

In a real world scenario, you may want to extend this basic flow and add more customization,
validation and policies. Here are some ideas:
   Branding - Add your corporate logo and message to the verification screen.
   Validation - Verify if the user record includes a phone number, otherwise prompt the user to
   enter one.
   Retries - If the OTP code provided by the user is wrong, this login flow generates a new OTP
   code and sends it again to the user. You may want to allow a limited number of retries or even
   temporarily block the user from login after a number of unsuccessful verification attempts.
   Policies - If the user has registered his landline phone but not his mobile phone number, send
   the OTP over voice message rather than SMS. Alternatively, if the user’s phone and mobile
   numbers are not registered with Salesforce, send the OTP code over email or challenge the user
   with a different second factor of authentication such as the built-in salesforce time-based OTP
   or a hardware-based OTP such as Yubikey (https://appexchange.salesforce.com/listingDetail?
   listingId=a0N3000000B5l12EAB&tab=r).


Want to learn more about login flows? See help
(https://help.salesforce.com/apex/HTViewHelpDoc?id=security_login_flow.htm&language=en_US)
or check out this article: https://developer.salesforce.com/page/Login-Flows
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